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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 NETCHOICE, LLC d/b/a NETCHOICE, a
 501(c)(6) District of Columbia organization, and
 COMPUTER & COMMUNICATIONS
 INDUSTRY ASSOCIATION d/b/a CCIA, a
 501(c)(6) non-stock Virginia corporation,

        Plaintiffs,                                                Civil Action No.
                                                                   1:21-cv-00840-RP
 v.

 KEN PAXTON, in his official capacity as Attorney
 General of the State of Texas,

        Defendant.

                                             ORDER

       On this day, the Court considered Amici Curiae Chamber of Progress, Connected

Commerce Council, CTA®, Engine Advocacy, Information Technology & Innovation

Foundation, National Black Justice Coalition, Progressive Policy Institute, Technet, Washington

Center for Technology Policy Inclusion and Hispanic Technology and Telecommunications

Partnership’s (collectively “Amici”) Motion for Leave to File Brief as Amici Curiae.

       The Court finds that Amici’s motion is meritorious and should be granted. Accordingly,

Amici’s Motion for Leave to File Brief as Amici Curiae is GRANTED. The Clerk of the Court

shall promptly file the Brief attached to Amici’s motion in the records of this action.

       SIGNED on this _____day of October 2021.




                                              ______________________________
                                              UNITED STATES DISTRICT JUDGE
